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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION



UNITED STATES OF AMERICA,                 :

             Plaintiff,                   :
                                                     Case No. 3:07cr081(9)
             vs.                          :
                                              JUDGE WALTER HERBERT RICE
RAMARIO ARROYO-SALDANA,                   :

             Defendant.                   :




      DECISION AND ENTRY OVERRULING DEFENDANT’S MOTION TO
      SUPPRESS EVIDENCE (DOC. #163)



      Defendant Ramiro Arroyo-Saldana (“Defendant” or “Arroyo-Saldana”) is

charged in the Fourth Superseding Indictment (Doc. #508) with one count of

conspiring to distribute and to possess with intent to distribute five or more

kilograms of cocaine, in violation of 21 U.S.C. § 846, and one count of using a

communication facility in the commission of a drug trafficking crime, in violation of

21 U.S.C. § 843(b).

      This case is now before the Court on the Defendant’s Motion to Suppress

Evidence (Doc. #163). With that motion, Arroyo-Saldana requests that the Court

suppress any evidence that was seized when the Jeep Cherokee he was driving

was stopped and subsequently searched by police officers, on February 20, 2007,

and any evidence that was seized when a search warrant was executed at his
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residence, located at 65 Burkhardt Avenue, Dayton, Ohio. On November 30,

2007, this Court conducted an oral and evidentiary hearing on Defendant’s motion.

The parties have filed their memoranda in support of and in opposition to that

motion. See Docs. ## 374, 560 and 570. The Court now rules on the

Defendant’s Motion to Suppress Evidence (Doc. #163), addressing his request that

the Court suppress the fruits of the stop of the Jeep Cherokee, before turning to

the search of his residence.



I. Stop and Search of the Jeep Cherokee

         At approximately 3:30 p.m., on February 19, 2007,1 Officers Matthew

Kennard (“Kennard”) and William McReynolds (“McReynolds”) of the Dayton, Ohio,

Police Department stopped the Jeep Cherokee that Arroyo-Saldana was driving.2

The Defendant argues that the Court must suppress the fruits of the stop and

search of the Jeep Cherokee, because the seizure of that vehicle violated his rights

under the Fourth Amendment. In particular, Defendant contends that Kennard and

McReynolds lacked probable cause to believe that the Jeep Cherokee had

committed a traffic offense and, further, they were without reasonable suspicion to

believe that he (Arroyo-Saldana) was engaged in criminal activity. The

Government, not surprisingly, disagrees with both points.



1
 The evidence is inconsistent on whether the events described below occurred on
February 19, 2007, or the following day, February 20th. This Court finds that they
occurred on February 19th, because that date was used in the affidavit with which
the search warrant was obtained.
2
 Kennard and McReynolds stopped that vehicle in response to a request for other
officers assigned to a drug task force, who wanted to know the identity of its
driver.

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         The Court overrules this branch of Defendant’s Motion to Suppress Evidence

(Doc. #163), without resolving the question of whether the stop of the Jeep

Cherokee violated his rights under the Fourth Amendment. Although that vehicle

was thoroughly searched, after it had been stopped, officers did not discover

controlled substances, drug paraphernalia, money or other physical evidence during

that search.3 The only evidence discovered by law enforcement as a result of

stopping the Jeep Cherokee was the Defendant’s identity. However, in United

States v. Navarro-Diaz, 420 F.3d 581 (6th Cir. 2005), the Sixth Circuit held that

the identity of a defendant is not suppressible, regardless of whether that

information was obtained in violation of his Fourth Amendment rights. Therefore,

even if the stop violated the Fourth Amendment rights of Arroyo-Saldana, there is

no basis for suppressing his identity.

         Accordingly, the Court overrules the branch of Defendant’s Motion to

Suppress Evidence (Doc. #163), arising out of the stop of the Jeep Cherokee on

February 19, 2007.



II. Search of Defendant’s Residence at 65 Burkhardt Avenue

         On May 7, 2007, Special Agent Steven Lucas (“Lucas”) of the Drug

Enforcement Administration (“DEA”) appeared before Magistrate Judge Michael

Merz and executed an affidavit, with which he obtained warrants authorizing

officers to search Defendant’s residence at 65 Burkhardt Avenue, as well as a


3
 For instance, Kennard testified that nothing was seized from the Jeep Cherokee
and that no information, other than Defendant’s identity, was discovered as a
result of the stop of the vehicle. Transcript of November 30, 2007, Oral and
Evidentiary Hearing (Doc. #362) at 37. See also, Id. at 46 (Kennard confirming
that neither drugs nor money were found in the Jeep Cherokee).

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number of other properties.4 The Defendant has moved to suppress the evidence

that was seized when that search warrant was executed, arguing that Lucas’

affidavit failed to establish probable cause to believe that contraband or evidence

of a crime would be found at 65 Burkhardt Avenue. The Government has not

responded to this branch of the Defendant’s motion.5 The Court now rules on

same, beginning its analysis by reviewing the standards it must apply, whenever it

rules on a request to suppress the evidence, seized when a search warrant was

executed, on the theory that the warrant was not supported by probable cause.

         In United States v. Smith, 182 F.3d 473 (6th Cir. 1999), the Sixth Circuit

restated certain fundamental principles that a court must apply when a defendant

argues that evidence, seized upon the execution of a search warrant, must be

suppressed, because the supporting affidavit did not establish the existence of

probable cause:

         The Fourth Amendment, which states that “no Warrants shall issue, but
         upon probable cause, supported by Oath or affirmation,” U.S. CONST.
         amend. IV, requires that probable cause be determined “by a neutral and
         detached magistrate instead of being judged by the officer engaged in the
         often competitive enterprise of ferreting out federal crime.” Johnson v.
         United States, 333 U.S. 10, 14 (1948). In order for a magistrate to be able
         to perform his official function, the affidavit must contain adequate
         supporting facts about the underlying circumstances to show that probable
         cause exists for the issuance of the warrant. Whiteley v. Warden, 401 U.S.
         560, 564 (1971). Probable cause is defined as “reasonable grounds for
         belief, supported by less than prima facie proof but more than mere


4
    The Application and Affidavit for Search Warrant is Government’s Exhibit 1.
5
 In addition to its Post-Hearing Memorandum (Doc. #560), in which it addressed
only the branch of Defendant’s motion directed at the stop of the Jeep Cherokee,
the Government filed a response to Defendant’s Motion to Suppress (Doc. #163),
the day it was filed. See Doc. #164. Therein, the Government merely requested
that it be permitted to file a memorandum opposing the Defendant’s motion after
an oral and evidentiary hearing has been conducted.

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      suspicion.” United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990). It
      requires “only a probability or substantial chance of criminal activity, not an
      actual showing of such activity.” Illinois v. Gates, 462 U.S. 213, 244 n. 13
      (1983). A warrant must be upheld as long as the magistrate had a
      “substantial basis for ... conclud[ing] that a search would uncover evidence
      of wrongdoing....” Id. at 236. See also United States v. Finch, 998 F.2d
      349, 352 (6th Cir. 1993).

Id. at 476-77. In Illinois v. Gates, 462 U.S. 213, 230 (1983), the Supreme Court

stressed that the existence of probable cause must be determined from the totality

of the circumstances. In Smith, the Sixth Circuit elaborated upon Gates:

              As the Supreme Court indicated in Gates, although “veracity,”
      “reliability,” and “basis of knowledge” are highly relevant in assessing the
      value of an informant's tip, these elements should not be understood as
      “entirely separate and independent requirements to be rigidly exacted in
      every case.” 462 U.S. at 230. Instead, they should be understood as
      “closely intertwined issues that may usefully illuminate the commonsense,
      practical question” of whether an informant's tip establishes probable cause.
      Id. Therefore, under a “totality of the circumstances” approach, a deficiency
      in one of these areas “may be compensated for, in determining the overall
      reliability of [an informant's] tip, by a strong showing as to the other, or by
      some other indicia of reliability.” Id. at 233. The Court in Gates concluded
      that “the duty of a reviewing court is simply to ensure that the magistrate
      had a ‘substantial basis for ... conclud[ing]’ that probable cause existed.”
      Id. at 238-39. The court must ensure that the magistrate was informed of
      some of the underlying circumstances from which the informant concluded
      evidence of a crime is where he claimed it would be found, and some of the
      underlying circumstances from which the officer concluded that the
      informant, whose identity need not be disclosed, was reliable. Aguilar [v.
      Texas, 378 U.S. 108, 114 (1964)].

182 F.3d at 477-78. See also Gates, 462 U.S. at 238 (noting that “[t]he task of

the issuing magistrate is simply to make a practical, common-sense decision

whether, given all the circumstances set forth in the affidavit before him, including

the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information,

there is a fair probability that contraband or evidence of a crime will be found in a

particular place”). See also, United States v. Laughton, 409 F.3d 744, 747 (6th

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Cir. 2005). When determining whether Lucas’ affidavit established the existence

of probable cause to believe that contraband or evidence of criminal activity would

be found at the place to be searched, this Court must examine the totality of those

circumstances in a “realistic and commonsense fashion.” United States v. Van

Shutters, 163 F.3d 331, 336 (6th Cir. 1998), cert. denied, 526 U.S. 1077 (1999).

Of course, this Court also must afford great deference to the determination of

probable cause made by Judge Merz, who issued the search warrant. United

States v. Allen, 211 F.3d 970 (6th Cir.) (en banc), cert. denied, 531 U.S. 907

(2000); United States v. Akram, 165 F.3d 452, 456 (6th Cir. 1999). See also,

United States v. Graham, 275 F.3d 490, 501 (6th Cir. 2001) (indicating that a

magistrate’s finding of probable cause will not be set aside, unless it was

arbitrary).

         Where, as in the present case, oral testimony was not presented to the

magistrate who issued the warrant, the existence of probable cause to support that

warrant must be ascertained exclusively from the four corners of the affidavit.6

See e.g., Whiteley v. Warden, 401 U.S. 560, 565 n. 8 (1971); United States v.

Vigeant, 176 F.3d 565, 569 (1st Cir. 1999); United States v. Etheridge, 165 F.3d

655, 656 (8th Cir. 1999); United States v. Weaver, 99 F.3d 1372, 1377 (6th Cir.

1996).

         In his affidavit, Lucas sets forth information which establishes probable

cause to believe that Daniel Garcia-Guia, aka Comino, and others, including Jose



6
 Accordingly, when ruling on the Defendant’s request to seize the property which
was seized from 65 Burkhardt Avenue, this Court will not consider Lucas’
testimony about Arroyo-Saldana’s alleged connection to the alleged drug
conspiracy charged in this prosecution.

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Garcia-Guia, aka Negro, were involved in the distribution of cocaine.7 While not

challenging that, Arroyo-Saldana argues that Lucas’ affidavit fails to establish

probable cause to believe that he has been involved in drug trafficking or that there

is a nexus between his allegedly suspicious activity and his residence at 65

Burkhardt Avenue.8 As a means of an analysis, this Court will initially decide

whether Lucas’ affidavit established probable cause to believe that Arroyo-Saldana

was involved in drug trafficking, following which it will turn to the question of

whether that affidavit established a nexus between 65 Burkhardt Avenue and that

alleged activity.9




7
 Daniel Garcia-Guia and Jose Garcia-Guia are brothers and Defendants in this
prosecution. In his affidavit, Lucas refers to the two respectively as Daniel Garcia
and Jose Garcia. Herein, this Court uses the names by which the two have been
identified in the Fourth Superseding Indictment (Doc. #508), i.e., Daniel Garcia-
Guia and Jose Garcia-Guia.
8
 Defendant argues that, since law enforcement learned his identity as a result of
the illegal stop of the Jeep Cherokee, this Court must strike references to him from
Lucas’ affidavit. Doc. #374 at 7. Given that the Court has concluded above that
the Defendant’s identity is not suppressible, regardless of whether that information
was obtained as a result of a violation of the Fourth Amendment, it declines to
strike Defendant’s identity from the affidavit.
9
 Parenthetically, this Court does not understand the Defendant to be arguing that
Lucas’ affidavit failed to establish probable cause to believe that 65 Burkhardt
Avenue is his (Defendant’s) residence. Such an argument could have proved fatal
to the Defendant’s request to suppress the evidence seized from that location,
since the only evidence before the Court, establishing that Defendant had a
reasonable expectation of privacy in that location and, thus, standing to seek the
suppression of the fruits of its search, are the statements in Lucas’ affidavit that
the house is Defendant’s residence.

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A. Probable Cause to Believe Defendant was Engaged in Drug Trafficking

      In ¶ 19 of his affidavit, Lucas set forth information attempting to link

Defendant to the alleged drug trafficking organization, including Daniel Garcia-Guia

and others:

      19. On February 19, 2007, [t]he DEA Dayton RO captured an electronic
      intercept between Daniel GARCIA and a subject later identified as Ramiro
      ARROYO-SALDANA, aka “GODFATHER.” On one of the captured calls on
      cellular phone 614-599-2868[,] Daniel GARCIA is told by “GODFATHER’”
      that it will take an hour to wrap the “tamales” and then “GODFATHER” will
      go to Jose GARCIA’S aka NEGRO’S garage. Your Affiant believes this
      intercept as well as others between Daniel GARCIA and “GODFATHER” are
      related to narcotic trafficking activity that was going to take place at the
      residence of Jose GARCIA aka NEGRO, in a rear garage. Based upon the
      intercepts[,] the DEA Dayton RO conducted surveillance at 711 Creighton
      Street, Dayton, Ohio[,] the suspected residence-garage for Jose GARCIA aka
      NEGRO. At approximately 1:31 PM, your Affiant observed a black Taurus
      enter a rear garage at 711 Creighton Street, Dayton, Ohio. The registration
      plate on the on the black Ford was observed by your Affiant as Texas
      registration plate 316-TGT. The registration plate came back to 4649 Loma
      Escondida, El Paso, Texas 79934. At approximately 2:15 PM, S/A Lucas
      observed the black Ford Taurus bearing the above registration plate exit the
      garage and depart the area. DEA Dayton investigators conducted
      surveillance and observed the Taurus with a heavy set Hispanic male driver
      go to the Motel 6 parking lot located at 1212 Main Street, Englewood, Ohio.
      At approximately 2:43 PM, TFO Bill Toney observed the heavy set Hispanic
      male driver[,] later identified as Ramiro ARROYO-SALDANA, aka Godfather
      (sic)[,] exit the Taurus and place an unknown object into a maroon Jeep
      Cherokee. Godfather (sic) was then observed by TFO Toney entering Room
      103 at the Motel 6. A short time later[,] TFO Toney observed Godfather
      (sic) exit the room and enter into the maroon Jeep. The Jeep was then
      observed departing the Motel 6 parking lot and was later stopped by Dayton
      Police for having a license plate obscured. The driver was identified by a
      Washington State ID and did not have a valid driver’s license[.] [] [] [The]
      vehicle was impounded[,] and [Arroyo-Saldana] was cited and allowed to
      leave the area on foot.

Government Exhibit 1 at ¶ 19. It should be noted that, elsewhere in his affidavit,

Lucas mentioned Jose Garcia-Guia’s residence and garage, located at 711



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Creighton Street, in connection with alleged drug trafficking activities. Id. at ¶ 17.

In addition, Jose Garcia-Guia’s alleged activities in the drug organization are also

detailed elsewhere in Lucas’ affidavit. Id. at ¶ 11 (discussing an intercepted

telephone call from Daniel Garcia-Guia to Jose Garcia-Guia during which the former

told the latter to be ready to work the next day, while other paragraphs in that

affidavit indicate that the delivery of 25 kilograms of cocaine was expected that

day); ¶ 17 (describing intercepted telephone call on February 9, 2007, between

Daniel Garcia-Guia and Jose Garcia-Guia, during which the latter told the former an

individual involved who supplied narcotics would be coming to his residence (Jose

Garcia-Guia’s) to meet with the two). In ¶ 37, Lucas once again addressed the

Defendant’s role in the alleged drug trafficking organization led by Daniel Garcia-

Guia:

        37. On April 13, 2007, [y]our Affiant performed a spot check of 65
        Burkhardt Avenue, Dayton, Ohio. You[r] Affiant observed a purple Jeep[,]
        bearing Ohio registration plate DUH2102[,] in the rear drive. (NOTE: This is
        the same vehicle utilized by Ramiro ARROYO-SALDANA, aka Godfather
        (sic)[,] and this is his known residence.) Your Affiant also observed a black
        Honda bearing Ohio registration plate EAD6056. The vehicle is known to be
        utilized by various associates of Daniel GARCIA. Your Affiant believes that
        the vehicle may contain a hidden compartment to conceal contraband.
        Furthermore, several of the captured wire communications between Daniel
        Garcia and Ramiro ARROYO-SALDANA, aka GODFATHER were captured
        over the land line telephone number for 65 Burkhardt Avenue, Dayton, Ohio.

Id. at ¶ 37.10 See also Id. at ¶ 56 (noting that the telephone number for 65

Burkhardt Avenue was used by Arroyo-Saldana). Those are the only mentions of

Arroyo-Saldana and/or his residence at 65 Burkhardt Avenue, which attempt to link

either to the alleged cocaine distribution organization.


10
 In addition, Daniel Garcia-Guia was seen riding as a passenger in the black Honda
on the same day, April 13, 2007. Government Exhibit 1 at ¶ 39.

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      Initially, Defendant argues that the only information in Lucas’ affidavit linking

him to drug trafficking is based upon intercepted telephone calls. As can be seen

from ¶ 19 of that affidavit, the entirety of which is quoted above, Lucas had to

interpret code language used by the participants of those telephone conversations,

in order to conclude that drug trafficking was the subject of those conversations.

According to Arroyo-Saldana, the information in ¶ 19 is not sufficient to establish

probable cause to believe that he was engaged in drug trafficking, because, when

Lucas described his background, he failed to set forth anything that would

substantiate his belief that Daniel Garcia-Guia and Jose Garcia-Guia were

discussing a drug transaction. Although this Court agrees with the Defendant that

Lucas did not expressly state in his affidavit that he was experienced or trained in

interpreting the codes used by drug traffickers in an effort to disguise the accurate

meaning of their conversations, the Court concludes that Lucas’ experience and

training, which are discussed in the following paragraph, gave him the ability to

interpret the telephone conversation between Defendant and Daniel Garcia-Guia.

      In his affidavit, Lucas described his experience and training, including nearly

two years as a DEA agent, ten years as a sworn police officer in Indiana, during

which he spent about four years as an agent on the DEA’s High Intensity Drug

Trafficking Area Task Force in Crown Point, Indiana, and his extensive training in

the investigation of drug trafficking from the Indiana Law Enforcement Academy,

the DEA and ongoing in-service training. Id. at ¶¶ 2-3. Lucas also set forth the

various tasks he had performed by virtue of his employment as a Special Agent

with the DEA, including functioning as an undercover agent for the purpose of

intelligence on drug trafficking and the inner workings of drug organizations. Id. at



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¶ 5. Quite simply, that information is sufficient to cause the Court to conclude

that, by virtue of his training and experience, Lucas was able to interpret the codes

used by those involved in drug trafficking.

      Based upon Lucas’ statement in ¶ 19 of his affidavit, that the conversation

between Daniel Garcia-Guia and the Defendant concerned drug trafficking activity,

this Court concludes there was probable cause to believe that Arroyo-Saldana was

indeed engaged in drug trafficking on February 19, 2007. Other information

contained in Lucas’ affidavit lends support to that conclusion. For instance, the

Defendant was seen at Jose Garcia-Guia’s garage on that date.11



A. Probable Cause to Believe that Evidence of Drug Trafficking Would Be Found at

65 Burkhardt Avenue

      Of course, merely because officers had probable cause to believe that the

Defendant had engaged in drug trafficking activity on February 19, 2007, does not

mean that they also had probable cause to believe that evidence of such criminal

activity would be found at 65 Burkhardt Avenue approximately two and one-half

months later, when Lucas executed his affidavit. In United States v. McPhearson,

469 F.3d 518 (6th Cir. 2006), the Sixth Circuit reviewed the standards which must

be applied to determine whether an affidavit executed in support of a search

warrant established probable cause to believe that contraband or evidence of a

crime would be found inside the place to be searched:



11
 It will be remembered that, during an intercepted telephone call on February 19,
2007, Daniel Garcia-Guia told the Defendant that he (Arroyo-Saldana) would be
going to Jose Garcia-Guia’s residence in one hour, after the “tamales” had been
wrapped.

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             “For the magistrate to be able to properly perform this official
      function, the affidavit presented [in support of the search warrant] must
      contain adequate supporting facts about the underlying circumstances to
      show that probable cause exists for the issuance of the warrant.” [United
      States v.] Weaver, 99 F.3d [1372, 1376 (6th Cir. 1996)]. The affidavit must
      contain particularized facts demonstrating “a fair probability that evidence of
      a crime will be located on the premises of the proposed search.” [United
      States v.] Frazier, 423 F.3d [526, 531 (6th Cir. 2005)]. This requires “a
      nexus between the place to be searched and the evidence sought.” United
      States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en banc) (internal
      quotation omitted). In other words, the affidavit must suggest “that there is
      reasonable cause to believe that the specific ‘things’ to be searched for and
      seized are located on the property to which entry is sought” and not merely
      “that the owner of property is suspected of crime.” Zurcher v. Stanford
      Daily, 436 U.S. 547, 556 (1978).

Id. at 524. Of course, “a suspect's mere presence or arrest at a residence is too

insignificant a connection with that residence to establish that relationship

necessary to a finding of probable cause.” United States v. Savoca, 761 F.2d

292, 297 (6th Cir. 1985) (internal quotation marks and citation omitted). See also,

United States v. Frazier, 423 F.3d 526, 533 (6th Cir. 2005) (noting that “the

allegation that the defendant is a drug dealer, without more, is insufficient to tie

the alleged criminal activity to the defendant's residence”).

      Applying those standards to the information contained in Lucas’ affidavit,

this Court concludes that such information failed to demonstrate existence of

probable cause to believe that the requisite nexus between evidence of drug

trafficking and 65 Burkhardt Avenue existed. An examination of the facts of

McPhearson demonstrates that point. Therein, officers traveled to the defendant’s

residence to arrest him on a warrant charging him with simple assault. He was

taken into custody on the front porch of his house. During the search incident to

the arrest, officers discovered crack cocaine in one of McPhearson’s pockets.



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Based upon that information, officers were able to secure a warrant, authorizing

them to search that residence. The Sixth Circuit concluded that finding crack

cocaine in the defendant’s pockets was not sufficient to establish a nexus between

the place to be searched and the evidence to be sought.

      Moreover, although the Sixth Circuit has held that evidence of drug

trafficking activity is likely to be found where drug dealers live (see, e.g., United

States v. Miggins, 302 F.3d 384, 393-94 (6th Cir. 2002) (and cases cited therein);

United States v. Jones, 159 F.3d 969 (6th Cir. 1998)), Lucas did not demonstrate

in his affidavit that Arroyo-Saldana was a drug dealer. Rather, he merely

established probable cause to believe that the Defendant had been involved in one

incident of drug trafficking, at a different location than 65 Burkhardt Avenue, about

two and one-half months before Lucas executed the affidavit with which he was

able to secure the search warrant. Similarly, the Sixth Circuit held in McPhearson

that evidence the defendant possessed crack cocaine in his pants pocket, outside

his residence, on the day the search warrant was obtained was insufficient to

demonstrate that he was a drug dealer and raise the inference that evidence of his

activity would be found in his residence.

      Based upon the foregoing, this Court concludes that Lucas’ affidavit failed to

establish probable cause to believe that contraband or evidence of drug trafficking

would be found at 65 Burkhardt Avenue. However, in United States v. Leon, 468

U.S. 897 (1984), the Supreme Court modified the exclusionary rule “so as not to

bar the admission of evidence seized in reasonable, good-faith reliance on a search

warrant that is subsequently held to be defective.” Id. at 905. See also, United

States v. Czuprynski, 46 F.3d 560 (6th Cir. 1995) (en banc). The Leon Court also



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held that the good faith exception to the exclusionary rule would not apply under

the following circumstances, to wit: 1) when the search warrant was obtained in

violation of Franks v. Delaware, 438 U.S. 154 (1978); 2) when the issuing

magistrate has failed to act in a neutral and detached fashion; 3) when the affidavit

in support of the warrant is “so lacking in indicia of probable cause as to render

official belief in its existence entirely unreasonable;” and 4) when the warrant is so

facially deficient (i.e., it fails to describe the particular place to be searched or the

items to be seized) that the executing officers could not have reasonably presumed

that it was valid. 468 U.S. at 923.12 Herein, there is no indication that the search

warrant was issued in violation of Franks, that Judge Merz failed to act in a neutral

and detached fashion or that the search warrant was facially deficient. Therefore,

the Court turns to the question of whether Lucas affidavit was “so lacking in

indicia of probable cause as to render official belief in its existence entirely

unreasonable.” Id.

       Recently, in United States v. Pauli, — F.3d —, 2009 WL 48212 (6th Cir.

2009), the Sixth Circuit noted that the affidavit in support of the search warrant in

that prosecution “fits comfortably within the Leon good-faith exception,” given

that it was not a “bare bones” affidavit and, thus, “so lacking in indicia of probable

cause as to render official belief in its existence entirely unreasonable.” Similarly,

in United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en banc), the



12
  Even though the Government did not address this branch of Defendant’s motion
in its post-hearing memorandum and, thus, did not raise Leon, this Court properly
raises the good faith exception to the exclusionary rule, since the defendant has
the burden of demonstrating that one of the four exceptions to Leon is applicable
and that, therefore, the officer did not rely on the warrant in good faith. United
States v. Otero, 495 F.3d 393, 398 (7th Cir.), cert. denied, 128 S.Ct. 495 (2007).

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Sixth Circuit found this Leon exception to be inapplicable where facts set forth in

the affidavit, albeit insufficient to establish probable cause, “were not so vague as

to be conclusory or meaningless.” A “bare bones” affidavit is similar to, if not the

same as a conclusory affidavit, “one which states only the affiant's belief that

probable cause existed.” United States v. Williams, 224 F.3d 530, 533 (6th Cir.

2000), cert. denied, 531 U.S. 1095 (2001). Herein, Lucas’ affidavit is not

conclusory, merely setting forth his belief that probable cause existed; rather, on

the contrary, Lucas provided information therein which is sufficient to establish

probable cause to believe that the Defendant had been involved in one incident of

drug trafficking. In addition, Lucas demonstrated a link between the Defendant

and 65 Burkhardt Avenue, by indicating that he received telephone calls there and

that a vehicle he had driven was parked there. In short, the affidavit at issue

herein is not “so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable.”

      Accordingly, the Court concludes that, in accordance with Leon, the

evidence seized from 65 Burkhardt Avenue cannot be suppressed, even though

Lucas’ affidavit did not establish probable cause to believe that contraband or

evidence of drug trafficking would be found therein.13


13
  Given that the one incident of drug activity by the Defendant, discussed by Lucas
in his affidavit, occurred more than two and one-half months before the search
warrant was issued, one could argue that this information was so stale as to render
official belief in the existence of probable cause unreasonable and, thus, that the
Leon exception to the exclusionary rule is inapplicable. See e.g., United States v.
Hython, 443 F.3d 480 (6th Cir. 2006) (concluding that, since the one incident of
criminal activity by the defendant described in the affidavit was undated, that
information was so stale as to render official belief in the existence of probable
cause unreasonable and that, therefore, Leon was inapplicable). Under the facts of
this prosecution, this Court would reject such an proposition. In determining

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      Based upon the foregoing, the Court overrules the Defendant’s Motion to

Suppress Evidence (Doc. #163).



February 2, 2009

                                            /s/ Walter Herbert Rice
                                             WALTER HERBERT RICE, JUDGE
                                            UNITED STATES DISTRICT COURT




Copies to:

Counsel of Record.




whether information in an affidavit executed in support of a search warrant is stale,
courts will consider, inter alia, the nature and duration of the offense. United
States v. Gardiner, 463 F.3d 445, 471 (6th Cir. 2006). The search warrant for 65
Burkhardt Avenue was issued to search for evidence of the distribution of cocaine.
The Sixth Circuit has recognized that evidence of drug trafficking activity does not
become stale with the passage of time, as does evidence of other criminal activity.
United States v. Greene, 201 F.3d 471 (6th Cir. 2001); United States v. Spikes,
158 F.3d 913, 923 (6th Cir. 1998). Moreover, although Lucas’ affidavit did not set
forth information that Arroyo-Saldana continued in drug trafficking activity after the
incident occurring on February 19, 2007, it did contain information that Daniel
Garcia-Guia was engaged in such activity after that date, as well as information
linking the Defendant to Daniel Garcia-Guia after said date. Accordingly, this Court
cannot conclude that the fact that the one incident of drug activity by the
Defendant, discussed by Lucas in his affidavit, occurred more than two and one-
half months before the search warrant was issued renders official belief in the
existence of probable cause unreasonable, thus rendering Leon inapplicable.

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